        Case 1:24-mj-00006-RMM Document 1-1 Filed 01/09/24 Page 1 of 13




                                   STATEMENT OF FACTS

        Your affiant,                  is a Federal Bureau of Investigation (FBI) Special Agent
assigned to the FBI Philadelphia Division, Allentown Pennsylvania Resident Agency. In my duties
as a special agent, I investigated allegations associated with international terrorism, domestic
terrorism, threatening communications, fraud, possession of child pornography, and other federal
violations. Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a FBI Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.



                                                 1
Case 1:24-mj-00006-RMM Document 1-1 Filed 01/09/24 Page 2 of 13
Case 1:24-mj-00006-RMM Document 1-1 Filed 01/09/24 Page 3 of 13
        Case 1:24-mj-00006-RMM Document 1-1 Filed 01/09/24 Page 4 of 13




Images 4 – 5: (left) Sign attached to fencing on U.S. Capitol grounds reading “AREA CLOSED
By order of the United States Capitol Police Board”; (right) West side of U.S. Capitol building
and grounds with white “Area Closed” signs visible along fencing

       Meta records obtained via subpoena provided that these Instagram and Facebook accounts
are both registered to an individual named “Ian MacBride,” with the email
speedracerfx@yahoo.com and the phone number XXX-XXX-5979. Yahoo Inc. records obtained
via subpoena indicated that the email address speedracerfx@yahoo.com was registered with the
name Ian MacBride and the 5979 phone number. Google records obtained via subpoena identified
a Google account registered with the speedracerfx@yahoo.com email under the name Ian
MacBride.

        According to records obtained through a search warrant served on Google, a mobile device
associated with speedracerfx@yahoo.com was present at the U.S. Capitol on January 6, 2021.
Google estimates device location using sources including GPS data and information about nearby
Wi-Fi access points and Bluetooth beacons. This location data varies in its accuracy, depending
on the source(s) of the data. As a result, Google assigns a “maps display radius” for each location
data point. Thus, where Google estimates that its location data is accurate to within 10 meters,
Google assigns a “maps display radius” of 10 meters to the location data point. Finally, Google
reports that its “maps display radius” reflects the actual location of the covered device
approximately 68% of the time. In this case, Google location data shows that a device associated
with speedracerfx@yahoo.com was within the U.S. Capitol building and on Capitol grounds from
approximately 1:50 p.m. to 2:39 p.m. Google records show that the “maps display radius” for this
location data encompassed an area entirely within U.S. Capitol grounds and partially within the
U.S. Capitol Building.




                                                4
        Case 1:24-mj-00006-RMM Document 1-1 Filed 01/09/24 Page 5 of 13




       I also reviewed posts from an online forum, Patriots.Win, from username
“PennsylPede1776,” after receiving a tip from a confidential human source (“CHS”) that the user
had admitted to entering the U.S. Capitol building on January 6, 2021 and had posted a photograph
of a U.S. Capitol Police sign the user allegedly stole from Capitol grounds.

       There are several indications that the PennsylPede1776 is operated by MacBride. 2 For
example, on January 23, 2021, PennsylPede1776 made a post on the forum titled, “Hung my
Capitol battle flags and ill gotten ‘Area Closed’ sign up in my bar tonight.” The post included an
image of the same bar shown in the MacBride Instagram account, with the photo taken from a
separate angle, and it showed the green Kekistan flag, the white USCP “Area Closed” sign, in
addition to a blue “Make America Great Again” flag.




2
 A subpoena for subscriber data served on Patriots.Win pursuant to 18 U.S.C. § 2703 did not
reveal information about the owner of the “PennsylPede1776” account. Legal counsel for
Patriots.Win provided an email address associated with the “PennsylPede1776” account that had
been encrypted and thus not decipherable.
                                                5
        Case 1:24-mj-00006-RMM Document 1-1 Filed 01/09/24 Page 6 of 13




                          Image 6: PATRIOTS.WIN Forum photograph

        Additionally, on December 25, 2020, PennsylPede1776 wrote on Patriots.Win: “I’m 40,
SWM, 5’11” … located in SEPA.” I reviewed Pennsylvania Department of Transportation records
pertaining to MacBride that contained biographical data consistent with PennsylPede1776’s
description of himself. The records identify MacBride as a white male with a listed height of 5’11”
who resides in Southeast Pennsylvania (often abbreviated as “SEPA”) and who was 40 years old
on the date of the post above.




Image 7: Dec. 25, 2020 comment written by MacBride under the username PennsylPede1776

       In the leadup to January 6, 2021, MacBride posted regularly on the forum under the
username Pennsylpede1776 about his intention to travel to Washington, D.C. on January 6, 2021.
For example, on Dec. 29, 2020, MacBride wrote, “I’m coming to DC on the 6th.” On January 5,
2021 at 8 p.m. MacBride wrote, “I’ll see you F****ts in DC tomorrow. SHADILAY!” 3 On January
6, 2021 at 8:52 a.m., the user posted “6 buses full of Patriots coming in hot! Let’s do this!”




3
 I understand “Shadilay” to refer to a 1986 Italian disco song referenced in alt-right online
discourse as the “national anthem” of the fictional country “Kekistan.”
                                                 6
Case 1:24-mj-00006-RMM Document 1-1 Filed 01/09/24 Page 7 of 13
        Case 1:24-mj-00006-RMM Document 1-1 Filed 01/09/24 Page 8 of 13




                    Image 9: MacBride near the U.S. Capitol on January 6, 2021.

         At 2:13 p.m., the Capitol building was breached for the first time that day. Rioters overran
multiple police lines on the west front of Capitol grounds and scaled the Northwest Staircase to
reach the exterior the Capitol building’s first floor at the Senate Wing Door entryway. There,
rioters used wooden planks, stolen police shields, and other blunt objects to smash the windows to
the left and right of the Senate Wing Door. Rioters then crawled through the smashed-out windows
and kicked open the Senate Wing Door.

       As shown on CCV, MacBride scaled the Northwest Stairs with other rioters at 2:15 p.m.,
then approached the exterior of the Senate Wing Door at 2:17 p.m.




                                                 8
       Case 1:24-mj-00006-RMM Document 1-1 Filed 01/09/24 Page 9 of 13




Images 10-11: MacBride scaling the Northwest Stairs and approaching the Senate Wing Door at
                                        2:17 p.m.

        MacBride then entered the building through the Senate Wing Door at 2:18 p.m., just five
minutes after its initial breach. At the time MacBride entered, a loud siren continuously rang
inside the doorway and shattered glass covered the floor near the entryway.




               Image 12: MacBride entering the Senate Wing Door at 2:18 p.m.

                                               9
       Case 1:24-mj-00006-RMM Document 1-1 Filed 01/09/24 Page 10 of 13




        After entering the building, MacBride turned north and walked into a large, circular room
known as the Crypt, where he joined other rioters amassing against a thin line of USCP officers
blocking the crowd from breaching further into the Capitol. CCV and video recorded by third
parties captured MacBride in this crowd at approximately 2:21 p.m.




                Images 13-15: MacBride entering the Crypt at approximately 2:21 p.m.

        At 2:25 p.m., the crowd of rioters in the Crypt overran the line of officers blocking their
path in the Crypt, allowing the crowd to fill the remainder of the room and access the Memorial
Door staircase leading to the second floor of the Capitol where the Senate and House Chambers
were located.




                                                10
       Case 1:24-mj-00006-RMM Document 1-1 Filed 01/09/24 Page 11 of 13




  Image 16: Rioters in the Crypt overrunning a line of Capitol Police officers at approximately
                               2:25 p.m. (MacBride not pictured)

       At 2:32 p.m., after rioters had pushed past police and filled the Crypt, MacBride is seen
following the crowd into a doorway leading south out of the crypt, which led to a small circular
room leading to the Memorial Door staircase.




Images 17-18: MacBride entering the anteroom to the Memorial Door staircase at 2:33 p.m.

       Capitol Police officers then led MacBride and several other rioters east to the Memorial
Doors, where MacBride is shown on CCV leaving the Capitol building at approximately 2:39 p.m.




                                               11
       Case 1:24-mj-00006-RMM Document 1-1 Filed 01/09/24 Page 12 of 13




        Images 19-20: MacBride exiting the Capitol building at approximately 2:39 p.m.


        At 2:50 p.m. EST on January 7, 2021, MacBride wrote on Donald.Win: “I don’t regret my
part in occupying the building.”




     Image 21: Jan. 7, 2021 comment on Patriots.Win by MacBride on another user’s post

        Based on the foregoing, your affiant submits that there is probable cause to believe that
IAN MACBRIDE violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that IAN MACBRIDE violated
40 U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to (D) willfully and knowingly utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                12
       Case 1:24-mj-00006-RMM Document 1-1 Filed 01/09/24 Page 13 of 13




        Your affiant also submits there is probable cause to believe that IAN MACBRIDE
violated 18 U.S.C. § 641, which makes it a crime for a person to embezzle, steal, purloin, or
knowingly convert to his use or the use of another, or without authority, sell, convey or dispose
of any record, voucher, money, or thing of value of the United States or of any department or
agency thereof, or any property made or being made under contract for the United States or any
department or agency thereof; or receive, conceal, or retain the same with intent to convert it to
his use or gain, knowing it to have been embezzled, stolen, purloined or converted.
       Finally, your affiant submits there is also probable cause to believe that HALTOM
violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or impede any
official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are
official proceedings.




                                                     SPECIAL AGENT
                                                     FEDERAL BUREAU OF
                                                     INVESTIGATION



Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this th day of January 2024.
                                                                           2024.01.09
                                                                           10:44:55 -05'00'
                                                     ___________________________________
                                                     HON. ROBIN M. MERIWEATHER
                                                     U.S. MAGISTRATE JUDGE




                                                13
